                       IN THE UNITED STATES DISTRICT COURT
                          EASTERN DISTRICT OF WISCONSIN
                               MILWAUKEE DIVISION

 Donald J. Trump, Candidate for President                       )
 of the United States of America,                               )
                                                                )
                                                                )
                Plaintiff,                                      )
                                                                )
 vs.                                                            ) Case No.
                                                                ) ____________________
                                                                )
 The Wisconsin Elections Commission, and its                    )
 members, Ann S. Jacobs, Mark L. Thomsen,                       )
 Marge Bostelman, Dean Knudson, Robert F.                       )
 Spindell, Jr., in their official capacities, Scott             )
 McDonnell in his official capacity as the Dane                 )
 County Clerk, George L. Christenson in his                     )
 official capacity as the Milwaukee County Clerk,               )
 Julietta Henry in her official capacity as the                 )
 Milwaukee Election Director, Claire Woodall-                   )
 Vogg in her official capacity as the Executive                 )
 Director of the Milwaukee Election Commission,                 )
 Mayor Tom Barrett, Jim Owczarski, Mayor Satya                  )
 Rhodes-Conway, Maribeth Witzel-Behl, Mayor                     )
 Cory Mason, Tara Coolidge, Mayor John                          )
 Antaramian, Matt Krauter, Mayor Eric Genrich,                  )
 Kris Teske, in their official Capacities; Douglas J.           )
 La Follette, Wisconsin Secretary of State, in his              )
 official capacity, and Tony Evers, Governor of                 )
 Wisconsin, in his Official capacity.                           )
                                                                )
                                                                )
                Defendants.



                         NOTICE OF APPEARANCE BY COUNSEL

To:    The Clerk of this Court and all parties of record:

       I am admitted or otherwise authorized to practice in this Court, and I appear in this case

as counsel for Plaintiff Donald J. Trump, Candidate for President of the United States.




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                         /s/ William Bock, III
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